           Case 4:18-mj-00065-LRL Document 6 Filed 09/11/18 Page 1 of 1 PageID# 8
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                                                                                                                        2018
                                     United States District Court
                             (\                          DISTRICT OF
         UNITED STATES OF AMERICA
                             V.                                        CONSENT TO PROCEED BEFORE
                                                                       UNITED STATES MAGISTRATE JUDGE
                                                                       IN A MISDEMEANOR CASE


                                                                       Case Number;



    The United States magistrate judge has explained to me the nature ofthe orrense(s) with which I am charged
and the maximum possible penalties which might be imposed if I am found guilty. The magistrate judge has
informed me of my right to the assistance of legal counsel. The magistrate judge has informed me of my right to
trial, judgment, and sentencing before a United States district judge or a United Slates magistrate judge.
   I HEREBY: Waive (give up) my right to trial, judgment, and sentencing before a United States district
             judge, and I consent to trial, judgment and sentencing before a United States magistrate
                      judge.
                                                                X            y.
                                                                                                                      Delendatii




                                            WAIVER OF RIGHT TO TRIAL BY JURY

                              The magistrate judge has advised me of my right to trial by jury.


   IHEREBY; Waive (give up) my right to trial by jury.                                    ICLLjr-?y)
                                                                                         Detendani


                                       Consented to by United Stales
                                                                                         Signature


                                                                                       Name nnd Title




                    WAIVER OF RIGHT TO HAVE THIRTY DAYS TO PREPARE FOR TRIAL

   The magistrate judge has also advised me of my right to have at least thirty days lo prepare for trial before
the magistrate judge.

   I HEREBY: Waive (give up) my right to have at least
                                                  •'iiij I thirty
                                                           i 11 i j days
                                                                    w j ^ to
                                                                          ( w prepar^for
                                                                               I V ]•/ I trial.

                                                                                                                      Defendant




                                                                  Approved By;
                     [/cicndant's Altornc) (i( anv                                          U..S. MTTgislralc Judge

                                                                                                  n- / ^
                                                                                                     Date
